UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UBER TECHNOLOGIES, INC.,                                   Case No. 20 cv 4842

                      Petitioner,
                                                           PETITION TO COMPEL
               -against-                                   ARBITRATION
ARTHUR BLOSSOMGAME,

                      Respondent.


        Petitioner UBER TECHNOLOGIES, INC., (“Petitioner” or “Uber”) respectfully

 petitions this Court for an Order compelling arbitration against Respondent ARTHUR

 BLOSSOMGAME (“Respondent” or “Blossomgame”) pursuant to Sections 4 and 206 of the

 Federal Arbitration Act, 9 U.S.C. §§ 4, 206, and alleges as follows:

                                    NATURE OF THE ACTION

        1.     Uber brings this Petition pursuant to Section 4 and 206 of the Federal Arbitration

Act (“FAA”) to compel Blossomgame to arbitrate all claims he brought, or could have brought,

against Uber in a Verified Complaint filed with the New York State Division of Human Rights

(“NYSDHR” or the “Division”), on September 16, 2019, titled Arthur Blossomgame v. Uber

Technologies, Inc., Case No. 10204306 (the “NYSDHR Complaint”). Blossomgame filed the

NYSDHR Complaint, which was cross filed with the Equal Employment Opportunity Commission, alleging

claims purportedly arising under the New York State Human Rights Law (“NYSHRL”),

Title VII of the Civil Rights Act of 1964 (“Title VII”), and the American with Disabilities Act

(“ADA”). The Division has sent the state-law claims for an adversarial hearing before an

administrative law judge.      Section 15.3 of the Parties’ contract for services contains an
Arbitration Provision that requires that the claims Blossomgame has brought in the Action be

submitted to arbitration. See Exhibit A.

                                              PARTIES

         2.     Petitioner Uber Technologies, Inc. is incorporated under the laws of the State of

Delaware, with its principal place of business in San Francisco, California.

         3.     Respondent Blossomgame is a resident of the State of New York.

                                          JURISDICTION

         4.     This Court has jurisdiction over the Petition pursuant to 28 U.S.C. § 1331 because

Blossomgame brings claims against Uber arising under federal statutory law.

         5.     This Court also has jurisdiction over the Petition pursuant to 28 U.S.C. § 1332

because the Parties to this Petition are citizens of different states.

         6.     The amount-in-controversy requirement set forth in 28 U.S.C. § 1332(a) is also

satisfied, as Blossomgame seeks compensatory and punitive damages in excess of $75,000.

         7.     Venue is proper in this Court pursuant to 9 U.S.C. § 4 and because a substantial

part of the events giving rise to this action occurred in this judicial district. Venue is also proper

here because the Parties’ written arbitration agreement provides for mandatory binding

arbitration “no more than 45 miles from the place where you last provided transportation

services.” Ex. A § 15.3(iii). The Eastern District of New York is within 45 miles of the last

place where Blossomgame last provided transportation services.

                                        RELEVANT FACTS

         8.     Uber, a software company, develops multi-sided platforms to create digital

marketplaces. Uber’s most widely known marketplace, the Uber Rides marketplace, matches

individuals in need of local transportation (“riders”) with independent transportation providers

(“drivers”), who almost always operate locally near their homes.



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         9.    To access the Rides marketplace, riders download Uber’s Rider App, while

drivers willing to provide transportation services download Uber’s Driver App. The software in

the apps enables riders and drivers to connect based on their location. Using Uber’s Rider App,

riders can connect with available, non-federally regulated drivers nearby who offer a variety of

transportation options within their local communities. Uber’s Apps are primarily used to

facilitate transportation for short-distance trips within one of the 175 cities across the United

States where Uber is available. Drivers can license Uber’s Driver App by entering a platform

access agreement (formerly referred to as a license agreement or a technology services

agreement) and paying a service fee. Uber does not pay drivers to provide transportation to

riders; riders pay drivers for the transportation services they request.

         10.   Blossomgame first signed up to use Uber’s Driver App as a driver in New York

City on August 21, 2015, contracting with Uber USA, LLC to do so.

         11.   In New York City at that time, any driver who wished to use Uber’s Driver App

to obtain leads must enter into a technology services agreement with Uber USA, LLC, a wholly-

owned subsidiary of Uber (“Uber USA TSA”). Blossomgame signed an Uber USA TSA.

         12.   Similarly, then as now, drivers in New York State (besides New York City) who

wished to use Uber’s Driver App entered into an agreement with Rasier-NY, LLC (“Rasier-

NY”), a wholly-owned subsidiary of Rasier, LLC, which is itself a wholly-owned subsidiary of

Uber.

         13.   Blossomgame stopped using his New York City Uber account in 2017, and

subsequently let the account slip into inactive status by not providing proof of a renewed Taxi &

Limousine Commission (“TLC”) license.




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          14.   On September 16, 2017, Blossomgame contracted with Rasier-NY to match with

riders using the Uber App in Nassau County (outside New York City). 1 Blossomgame did so by

logging on to Uber’s Driver App and accepting the June 17, 2017 version of the Rasier-NY

Technology Services Agreement (the “Rasier-NY TSA”).

          15.   The Rasier-NY TSA, like the Uber USA TSA, contains an Arbitration Provision.

          The Arbitration Provision

          16.   The Arbitration Provision “applies, without limitation, to all disputes between

You and the Company or Uber, as well as disputes between You and the Company’s or Uber’s

fiduciaries, administrators, affiliates, subsidiaries, parents, and all successors and assigns of any

of them, including but not limited to any disputes arising out of or related to this Agreement and

disputes arising out of or related to your relationship with the Company, including termination of

the relationship.” Ex. A § 15.3(i).

          17.   The Rasier-NY TSA defines “Uber” as Uber Technologies, Inc.                Id. at 1

(preamble). Moreover, the Arbitration Provision itself explicitly states that “Uber Technologies,

Inc. is an intended, third party beneficiary of this Agreement.” Id. § 15.3(i).

          18.   For the avoidance of doubt, in the Arbitration Provision, the Parties explicitly

agreed to arbitrate, without limitation, all “claim arising under the . . . Civil Rights Act of 1964,

American With Disabilities Act, . . . Fair Labor Standards Act, . . . and state statutes, if any,

addressing the same or similar subject matters.” Id. § 15.3(i).

          19.   The Arbitration Provision “is governed by the Federal Arbitration Act, 9 U.S.C.

§ 1 et seq. (the “FAA”) and evidences a transaction involving interstate commerce.” Id.




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    Blossomgame registered as a driver under the misspelled name “Arthur Blossomhame.”



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         20.   Blossomgame had the opportunity to opt out of the Arbitration Provision by

submitting an email or letter to the Company within thirty days of his execution of the

Arbitration Agreement. See id. § 15.3(viii). The Arbitration Provision stated, in bold print:

“Should you not opt out of this Arbitration Provision within the 30-day period, you and the

Company shall be bound by the terms of this Arbitration Provision.” Id.

         21.   Blossomgame elected not to opt out of the Arbitration Agreement.

         22.   The Arbitration Provision “survives after the Agreement terminates.”           Id.

§ 15.3(i).

         23.   Following a review of Blossomgame’s account, Uber informed Blossomgame on

February 25, 2019 that, following an account review, it had decided to deactivate his account due

to, among other reasons, safety concerns in light of “multiple reports of problematic behavior,”

effective immediately.

         The NYSDHR Complaint

         24.   On September 16, 2019, Blossomgame filed his NYSDHR Complaint with the

NYSDHR. Blossomgame’s NYSDHR Complaint purports to state claims arising under the New

York State Human Rights Law (“NYSHRL”), Title VII of the Civil Rights Act of 1964, and the

American with Disabilities Act.

         25.   The claims stated in the NYSDHR Complaint are expressly covered by the

Arbitration Provision of the Rasier-NY TSA.

         26.   The NYSDHR sent the Parties a notice (the “Hearing Notice”) stating: “Please be

advised that pursuant to Section 465.12 of the Rules of Practice, 9 N.Y.C.R.R § 465.12, the

above-referenced matter has been scheduled for a telephonic preliminary conference before

Alexander Linzer, an Administrative Law Judge of the New York State Division of Human




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Rights, to determine the charges of unlawful discriminatory practice as alleged in the attached

verified complaint, on the following date and time:” October 15, 2020, from 9:00 AM –

11:00 AM.

         27.    On October 2, 2020, Uber asked Blossomgame to request withdrawal of his

NYSDHR Complaint and submit any and all claims that he may have against Uber to arbitration

pursuant to the Arbitration Provision of the Parties’ Rasier-NY TSA. Blossomgame refused.

         28.    As of the date of Uber’s Petition, Blossomgame had not agreed to request

withdrawal of his NYSDHR Complaint or to submit any and all claims that he may have against

Uber to arbitration in accordance with the Arbitration Provision. See id. ¶ 6.

                              COUNT I
       PERMANENT INJUNCTION AND ORDER COMPELLING ARBITRATION
                       PURSUANT TO 9 U.S.C. § 4

         29.    Uber repeats and re-alleges the allegations set forth in the preceding paragraphs as

if fully set forth herein.

         30.    The Arbitration Provision of the Rasier-NY TSA is a part of a valid and

enforceable contract between Uber’s affiliate and Blossomgame, to which Uber is an intended

third-party beneficiary. The Arbitration Provision requires that any and all disputes between

Blossomgame and Uber, or its affiliates, be decided exclusively through mandatory binding

arbitration.

         31.    Uber seeks an order permanently enjoining Blossomgame from pursuing his

NYSDHR Complaint, directing him to request dismissal of his NYSDHR Complaint, enjoining

him from initiating any other litigation or proceeding that would violate the Arbitration

Provision, and compelling Blossomgame to arbitrate any claims he may choose to maintain

against Uber, or its affiliates, pursuant to the terms of the Arbitration Provision.




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        32.    Pursuant to Section 4 of the Federal Arbitration Act, 9 U.S.C. § 4, this Court has

authority to compel Blossomgame to arbitrate the claims asserted in his NYSDHR Complaint.

        33.    The Arbitration Provision is also enforceable by this Court pursuant to Section

206 of the Federal Arbitration Act, 9 U.S.C. § 206, which authorizes this Court to enter an order

directing that the arbitration proceed in the manner provided for in the Arbitration Provision.

                                     PRAYER FOR RELIEF

        WHEREFORE, Petitioner demands judgment:

        A.       Compelling Respondent Arthur Blossomgame to submit to binding arbitration

 all claims covered by the Arbitration Provision that he intends to maintain against Uber or its

 affiliates, including all claims asserted in the NYSDHR Complaint.

        B.       Directing that the arbitration proceed in the manner provided for in the

 Arbitration Provision.

        C.       Directing Respondent to request dismissal of the NYSDHR Complaint and

 annul his election of remedies pursuant to Section 297(9) of the New York Executive Law,

 Article 15.

        E.       Awarding to Petitioner the costs and disbursements of this action, including an

 award of reasonable attorneys’ fees; and

        F.       Awarding any other relief the Court deems just and proper.




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Dated:   October 8, 2020         LITTLER MENDELSON, P.C.
         New York, NY
                                   By:   /s/ Sean A. Malley
                                             Sean A. Malley

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